Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 1 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 2 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 3 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 4 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 5 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 6 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 7 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 8 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 9 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 10 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 11 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 12 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 13 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 14 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 15 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 16 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 17 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 18 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 19 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 20 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 21 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 22 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 23 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 24 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 25 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 26 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 27 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 28 of 32




                     EXHIBIT "C"
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 29 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 30 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 31 of 32
Case 18-30400-KKS   Doc 26   Filed 11/21/18   Page 32 of 32
